                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION - DETROIT

IN THE MATTER OF:
      Christopher Standerwick &,
      Crystal Preston-Standerwick                                 CASE NO.:       17-57688
                                                                  CHAPTER:        13
            DEBTORS.                                              JUDGE:          Thomas J. Tucker
_________________________________/

  OBJECTION TO PROOF OF CLAIM OF WILMINGTON SAVINGS FUND SOCIETY, FSB,
                            PACER CLAIM #23

       Debtor(s), by and through Counsel, Frego & Associates-The Bankruptcy Law Office, P.L.C.,
hereby objects to the proof of claim filed by Wilmington Savings Fund Society, FSB, and state as follows:

    1. Debtors filed for Bankruptcy protection on or about December 29th, 2017.
    2. On or about March 8th, 2018, creditor Wilmington Savings Fund Society, FSB filed a Proof of
       Claim (Claim #-23). (hereafter “Proof of Claim”)

    3. The proof of claim indicates the Debtors are $3,247.82 behind with their direct pay mortgage.

    4. The Debtors believe they are now 100% current with their mortgage and petitions the Court to
       enter an order indicating Debtors are current and have no arrears with the debt owed to this
       creditor.

       WHEREFORE, Debtor(s) pray this Honorable Court modify Proof of Claim #23 to deem the
Debtors are current with their obligation to Wilmington Savings Fund Society, FSB.

                                                                  /s/ Glen T. Turpening
                                                                  Glen T. Turpening P65230
                                                                  Attorney for Debtor
                                                                  Frego & Associates-The Bankruptcy
                                                                  Law Office, PLC
                                                                  23842 Joy Road
    Dated: 08/08/18                                               Dearborn Heights, MI 48127
                                                                  (313) 724-5088
                                                                  fregolaw@aol.com




       17-57688-tjt    Doc 44     Filed 08/09/18    Entered 08/09/18 09:52:53       Page 1 of 4
                                       UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF MICHIGAN
                                          SOUTHERN DIVISION - DETROIT

IN THE MATTER OF:
      Christer Standerwick &,
      Crystal Preston-Standerwick                                                    CASE NO.:         17-57688
                                                                                     CHAPTER:          13
            DEBTORS.                                                                 JUDGE:            Thomas J. Tucker
_________________________________/
3470 Yardly, Sterling Heights, IM 48310

Last four digits of Social Security or
Employer's Tax Identification (EIN) No(s).(if any): 6388
Last four digits of Social Security or
Employer's Tax Identification (EIN) No(s).(if any):4146

                                                NOTICE OF OBJECTION TO CLAIM

           Christopher Standerwick and Crystal Preston-Standerwick have filed an objection to your claim in this bankruptcy
case.

        Your claim may be reduced, modified, or disallowed. You should read these papers carefully and discuss them
with your attorney, if you have one.

        If you do not want the court to disallow or change your claim, then on or before September 6th 2018, you or your
lawyer must:

1.         File with the court a written response to the objection, explaining your position, at:

                                                     U.S. Bankruptcy Court
                                             211 W. Fort St. Ste 2100, Detroit MI 48226

                    If you mail your response to the court for filing, you must mail it early enough so that the court will
           receive it on or before the date stated above. All attorneys are required to file pleadings electronically.

          You must also send a copy to:
                            {Christopher Standerwick and Crystal Prenston-Standerwick 3470 Yardly, Sternling Heights MI
                            48310}
                            {Trustee Tammy Terry, 535 Griswold, Ste 2100 Detroit MI 48226}
                            {Frego & Associates 23843 Joy Rd. Dearborn Heights MI 48127}
2.                 Attend the hearing on the objection, scheduled to be held on September 13th , 2018 at 9 a.m. in Courtroom1925 ,
United States Bankruptcy Court, [211 W. Fort St. Detroit MI 48226], unless your attendance is excused by mutual agreement between
yourself and the objector’s attorney. (Unless the matter is disposed of summarily as a matter of law, the hearing shall be a pre-trial
conference only; neither testimony nor other evidence will be received. A pre-trial scheduling order may be issued as a result of the pre-
trial conference.)
         If you or your attorney do not take these steps, the Court may deem that you do not oppose the objection to your claim, in
which event the hearing will be canceled, and the objection sustained.
                                                                                     /s/GlenT. Turpening
        Date: 08/08/18                                                               Glen T. Turpening P65230
                                                                                     Attorney for Debtor
                                                                                     Frego & Associates-The Bankruptcy
                                                                                     Law Office, PLC
                                                                                     23842 Joy Road
                                                                                     Dearborn Heights, MI 48127
                                                                                     (313) 724-5088
                                                                                     fregolaw@aol.com
            17-57688-tjt       Doc 44        Filed 08/09/18         Entered 08/09/18 09:52:53              Page 2 of 4
                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION - DETROIT

IN THE MATTER OF:
      Christer Standerwick &,
      Crystal Preston-Standerwick                                  CASE NO.:      17-57688
                                                                   CHAPTER:       13
               DEBTORS.                                            JUDGE:         Thomas J. Tucker
_________________________________/
                    ORDER GRANTING OBJECTION TO PROOF OF CLAIM
                OF WILMINGTON SAVINGS FUND SOCIETY, FSB, CLAIM #23
        This matter having come on for hearing before the Court by way of the objection of the debtor to
the allowance of the claim of the above referenced creditor, service having been made with a notice of
hearing allowing a thirty (30) day notice pursuant to Bankruptcy Rule 3007, a hearing having been held,
the court having heard the matter in open court and for the reasons stated on the record:
       NOW THEREFORE, IT IS HEREBY ORDERED:
       The objection to the Proof of Claim filed by the above-referenced creditor is hereby granted




       IT IS FURTHER ORDERED as follows:
       1. The Debtors are current with their payments to Wilmington Savings Fund Society, FSB. The
Trustee shall make no disbursements on the arrearage portion of the proof of claim.




                                            ______________________________________
                                            UNITED STATES BANKRUPTCY JUDGE



                                               Exhibit A

                                        “PROPOSED ORDER”




       17-57688-tjt    Doc 44     Filed 08/09/18    Entered 08/09/18 09:52:53        Page 3 of 4
                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION - DETROIT

IN THE MATTER OF:
      Christer Standerwick &,
      Crystal Preston-Standerwick                                    CASE NO.:       17-57688
                                                                     CHAPTER:        13
                DEBTORS.                                             JUDGE:          Thomas J. Tucker
                   _________________________________/
                                     PROOF OF SERVICE


       I, Peter J. Ramik, Jr., hereby swear under perjury that I served copies of:

           1.   OBJECTION TO THE PROOF OF WILMINGTON SAVINGS FUND SOCIETY, FSB.
           2.   PROOF OF SERVICE
           3.   NOTICE OF OBJECTION TO CLAIM
           4.   “PROPOSED ORDER”
in said case with the Clerk of the Court were served by depositing said copies in the U.S. Mail, postage
prepaid, properly addressed as follows:
CREDITOR: Wilmington Savings Fund Society, FSB, 3000 Kellway Dr., Ste, 150, Carrollton, TX
          75006


Dated: 08/08/18
                                                                     /s/Peter Ramik__________
                                                                     Peter J. Ramik, Jr.
                                                                     Employee of
                                                                     Frego & Associates-The Bankruptcy
                                                                     Law Office, PLC
                                                                     23842 Joy Road
                                                                     Dearborn Heights, MI 48127
                                                                     (313) 724-5088
                                                                     fregolaw@aol.com




       17-57688-tjt     Doc 44     Filed 08/09/18     Entered 08/09/18 09:52:53        Page 4 of 4
